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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               SOUTHERN DIVISION



CASA, INC.,

                       Plaintiff,

        v.
                                                      Case No.: 8:25-cv-1484
KRISTI NOEM, Secretary of Homeland
Security, in her official capacity, & U.S.
DEPARTMENT OF HOMELAND
SECURITY

                       Defendants.



    [PROPOSED] ORDER GRANTING PLAINTIFF CASA, INC.S’ MOTION FOR
                   PARTIAL SUMMARY JUDGEMENT

       Upon consideration of Plaintiff CASA, Inc.’s motion for partial summary judgment, the

motion is GRANTED and it is ORDERED that:

   •   The purported termination of the Temporary Protected Status (TPS) designation for
       Afghanistan is SET ASIDE under 5 U.S.C. § 706(2) and DECLARED unlawful;

   •   It is DECLARED that the TPS designation for Afghanistan is extended until at least
       November 20, 2025;

   •   The purported termination of the TPS designation for Cameron is SET ASIDE under 5
       U.S.C. § 706(2) and DECLARED unlawful;

   •   It is DECLARED that the TPS designation for Cameroon is extended until at least
       December 7, 2025;

SO ORDERED, this _________ day of __________, 2025.

                                                          ________________________
                                                          United States District Judge
